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8                                 IN THE UNITED STATES DISTRICT COURT
9                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO. 1:19 CR 00248 LJO
12                                  Plaintiff,
                                                          ORDER UNSEALING INDICTMENT
13                           v.
14   ERIC LOPEZ MERCADO AND
     JOSE MORENO,
15
                                    Defendants.
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              The United States having applied to this Court for the indictment in this case to remain under
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     seal until the defendants named in the indictment were in custody, and the defendants now having been
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     arrested and the need for sealing has ceased;
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              IT IS ORDERED that the indictment filed in the above-entitled matter shall be unsealed.
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     IT IS SO ORDERED.
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     Dated:     November 20, 2019
                                                        UNITED STATES MAGISTRATE JUDGE
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